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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                     MARTINSBURG


  UNITED STATES OF AMERICA,

        Plaintiff,

  v.                                       CRIMINAL ACTION NO.: 3:14-CR-15-02
                                           (JUDGE GROH)

  DARRELL SHERWOOD LOGAN,

        Defendant.


  MEMORANDUM OPINION AND ORDER DENYING DEFENDANT LOGAN’S MOTION
       TO DISMISS THE CONSPIRACY ALLEGATION IN THE INDICTMENT

        This matter is now before the Court for consideration of Defendant Darrell Sherwood

  Logan’s “Motion in limine and Motion to Dismiss the Conspiracy Allegation.” ECF 148.

  Defendant Logan filed his motion on September 11, 2014. On September 16, 2014, the

  United States filed its response in opposition to Defendant’s motion. For the reasons that

  follow, the Defendant’s motion is DENIED.

                                      I. Background

        On March 18, 2014, a grand jury sitting in Martinsburg returned an eleven-count

  Indictment. Defendant Logan was charged in Count One and Count Two of the

  Indictment, along with several co-defendants. Count Two charges Defendant with

  aiding and abetting co-defendants Darius Hogan and Tyrone Fleming in the distribution

  of cocaine base, also known as “crack,” in exchange for $90.00.

        Count One, the drug conspiracy, charges that:

        From on or about July 17, 2012, to on or about February 7, 2013, at or
        near Berkeley County, West Virginia within the Northern District of West
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        Virginia, and elsewhere, defendants DARIUS NOLAN HOGAN,
        DARRELL SHERWOOD LOGAN, TYRONE LAMONT FLEMING,
        GREGORY LOUIS THORNTON, ALVIN DASHAWN GILBERT, and
        KATLYN MARIE TUCKER did knowingly and intentionally combine,
        conspire, confederate, and agree together and with each other, and with
        persons known and unknown to the Grand Jury, to commit an offense
        against the United States, to wit: to violate Title 21, United States Code
        Section 841(a)(1). It was a purpose and object of the conspiracy to
        knowingly and intentionally possess with intent to distribute and to
        distribute a quantity of cocaine base, also known as “crack,” a Schedule II
        narcotic drug-controlled substance as defined in Title 21, United States
        Code, Section 812(c), Schedule II (a)(4); in violation of Title 21, United
        States Code, Sections 841(b)(1)(C) and 846.

  ECF 1.

        Defendant requests that Count One of the Indictment, the conspiracy allegation,

  be dismissed as to this Defendant and that evidence attributed to the alleged conspiracy

  be deemed inadmissible as proof of this Defendant’s membership or participation in a

  criminal conspiracy.

                                     II. Legal Standard

        An indictment must contain “a plain, concise, and definite written statement of the

  essential facts constituting the offense charged.” Fed. R. Crim. P. 7(c)(1). “One of the

  principal purposes of an indictment is to apprise the accused of the charge or charges

  leveled against him so he can prepare his defense.” United States v. Fogel, 901 F.2d

  23, 25 (4th Cir. 1990). The Fourth Circuit Court of Appeals has stated that “[t]o pass

  constitutional muster, an indictment must (1) indicate the elements of the offense and

  fairly inform the defendant of the exact charges and (2) enable the defendant to plead

  double jeopardy in subsequent prosecutions for the same offense.” United States v.

  Williams, 152 F.3d 294, 299 (4th Cir. 1998) (citing United States v. Sutton, 961 F.2d



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  476, 479 (4th Cir. 1992)).

         An indictment is generally sufficient if it tracks the words of the statute itself and

  includes “a statement of the facts and circumstances as will inform the accused of the

  specific offence, coming under the general description, with which he is charged.”

  Hamling v. United States, 418 U.S. 87, 117-18 (1974) (quoting United States v. Hess,

  124 U.S. 483, 487 (1888)). In analyzing the sufficiency of an indictment, a court will

  look “at the contents of the subject indictment, ‘on a practical basis and in [its] entirety,

  rather than in a hypertechnical manner.’” United States v. McLeczynsky, 296 F.3d 634,

  636 (7th Cir. 2002) (quoting United States v. Smith, 230 F.3d 300, 305 (7th Cir. 2000)).

  In resolving a motion to dismiss the indictment based on failure to state an offense, the

  Court views the allegations of the indictment as true. United States v. Sampson, 371

  U.S. 75, 76 (1962).

                                         III. Discussion

         In this case, the Indictment not only tracks the language of the charging statute,

  but it also provides a statement of the facts and circumstances that informs Defendant

  Logan of the specific offense. The Indictment provides, in relation to the “conspiracy”

  charge, that from on or about July 17, 2012 to on or about February 7, 2013, in the

  Northern District of West Virginia, Defendant Logan and his co-defendants” did

  knowingly and intentionally combine, conspire, confederate, and agree together and

  with each other, and with persons known and unknown to the Grand Jury, to commit an

  offense against the United States.” The Indictment also charges that the “purpose and

  object of the conspiracy” was to “knowingly and intentionally possess with intent to

  distribute and to distribute a quantity of cocaine base, also known as “crack,” a

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  Schedule II narcotic drug-controlled substance.” This language in the Indictment follows

  the charging statute as well as provides a statement of the facts and circumstances

  informing Defendant of the specific offense. Indeed, 21 U.S.C.                 § 841(a)(1)

  provides that it “shall be unlawful for any person knowingly or intentionally to

  manufacture, distribute, or dispense, or possess with intent to manufacture, distribute,

  or dispense a controlled substance.” Accordingly, the Indictment sufficiently charges an

  offense.

         Defendant also challenges that the grand jury had insufficient evidence to

  essentially charge Defendant in Count 1 of the Indictment. The United States Supreme

  Court has stated that “An indictment returned by a legally constituted and unbiased

  grand jury . . . if valid on its face, is enough to call for trial of the charge on the merits.

  The Fifth Amendment requires nothing more.” Costello v. United States, 250 U.S. 359,

  363 (1956). Therefore, a court will not quash an indictment if a defendant simply

  challenges it on the ground that “there was inadequate or incompetent evidence before

  the grand jury.” Id. Indeed, this would result in a preliminary trial on the merits “to

  determine the competency and adequacy of the evidence before the grand jury.” Id.

  The Fourth Circuit Court of Appeals has routinely denied motions to dismiss an

  indictment based on an argument that the grand jury had insufficient evidence. See

  United States v. Alexander, 789 F.2d 1046, 1048-49 (4th Cir. 1986) (holding per the

  majority in Costello that “a facially valid indictment suffices to permit the trial of the party

  indicted”); United States v. Mills, 995 F.2d 480, 487 (4th Cir. 1993) (noting that “the

  Supreme Court’s holdings under the Fifth Amendment’s Indictment clause teach that

  courts lack authority to review either the competency or sufficiency of evidence which

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  forms the basis of an indictment”). Therefore, this Court finds that the Indictment in this

  matter was returned by a legally constituted and unbiased grand jury and that the

  Indictment is valid on its face. Accordingly, in light of precedent of the United States

  Supreme Court and the Fourth Circuit Court of Appeals, the Court DENIES Defendant

  Logan’s motion.

                                       IV. Conclusion

         Accordingly, the Court finds that Defendant’s “Motion in limine and Motion to

  Dismiss the Conspiracy Allegation“ is DENIED.

         It is so ORDERED.

         The Clerk is directed to transmit copies of this Order to all counsel of record

  herein.

         DATED: September 17, 2014




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